Case 2:14-cv-03650-FMO-FFM Document 202-2 Filed 01/19/18 Page 1 of 25 Page ID
                                 #:8583




                                                                  EXHIBIT A
Case 2:14-cv-03650-FMO-FFM Document 202-2 Filed 01/19/18 Page 2 of 25 Page ID
                                 #:8584




                                                                  EXHIBIT A
         Case 2:14-cv-03650-FMO-FFM Document 202-2 Filed 01/19/18 Page 3 of 25 Page ID
                                          #:8585



From:                                             Lara Kollios <LKollios@boerschshapiro.com>
Sent:                                             Tuesday, October 03, 2017 11:09 AM
To:                                               Jackson, Jonathan (LA); Howes, Kendall (LA); Schindler, David (LA)
Cc:                                               Martha Boersch
Subject:                                          Almaty/Khrapunov Discovery


All,

Given the volume of the most recent discovery served on defendants, we’d like a 30-day extension to November 13,
2017. Please let me know.

Thanks - Lara

Lara Kollios
Boersch Shapiro LLP
1611 Telegraph Ave, Suite 806
Oakland, CA 94612
Tel (415) 500-6643
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                                                                                         1
                                                                                                                       EXHIBIT B
           Case 2:14-cv-03650-FMO-FFM Document 202-2 Filed 01/19/18 Page 4 of 25 Page ID
                                            #:8586



From:                               Jackson, Jonathan (LA)
Sent:                               Tuesday, October 17, 2017 12:17 PM
To:                                 Lara Kollios
Cc:                                 Martha Boersch; Howes, Kendall (LA)
Subject:                            RE: Khrapunov Discovery


Thanks Lara,

Following up on our prior conversations and your email below, this is to confirm that, based on your agreement to
respond substantively/produce documents (and not simply assert objections), we agree to the proposed 30-day
extension for written discovery. Just to be clear, we do have concerns regarding potential “prejudice” in light of the
amount of discovery that remains to be completed (which delayed our response somewhat), but at the same time we
want to be sensitive to your task in getting up to speed and maintain a positive working relationship going
forward. Also, one item from our call that I’d like to emphasize is that we don’t necessarily have access to documents
produced in other matters (often due to protective orders restricting dissemination), so documents should not be
withheld on the basis that they may have been produced elsewhere.

We have concerns regarding the apparent unavailability of witnesses for depositions that you raised during our last call,
and will follow up separately on that front.

Finally, following up on our discussion re: a stipulated briefing schedule for the MTD, we suggest the following:

       •    MTD due – 10/25/17
       •    Opposition due – 11/23/17
       •    Reply due – 12/14/17
       •    Hearing – 1/4/17

In light of the court’s prior order re: the 42-day notice period for motions, I think we’ll need to provide a bit more detail
in our stip to establish good cause (and we tried not to stretch out the deadlines too much in the above, and instead
pushed the hearing date out based on your unavailability 12/21/17 and the holidays) – we’re happy to put together a
draft for your review and approval. Please let us know what you think.

Regards,

--Jon


From: Lara Kollios [mailto:LKollios@boerschshapiro.com]
Sent: Friday, October 13, 2017 10:15 AM
To: Jackson, Jonathan (LA)
Cc: Martha Boersch; Howes, Kendall (LA)
Subject: Khrapunov Discovery

Jon,

Per our discussion earlier this week, you confirmed that the Khrapunov discovery responses would not be due until you
had a chance to get back to me on our request for an extension. We’ve been discussing the brief extension for a bit now


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                                                                                                        EXHIBIT C
         Case 2:14-cv-03650-FMO-FFM Document 202-2 Filed 01/19/18 Page 5 of 25 Page ID
                                          #:8587
and during our discussions you have not expressed any objection of prejudice. We will consider our responses due on
November 17 unless we hear otherwise. Thanks - Lara

Lara Kollios
Boersch Shapiro LLP
1611 Telegraph Ave, Suite 806
Oakland, CA 94612
Tel (415) 500-6643
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                                                                                         2
                                                                                                 EXHIBIT C
        Case 2:14-cv-03650-FMO-FFM Document 202-2 Filed 01/19/18 Page 6 of 25 Page ID
                                         #:8588



From:                               Jackson, Jonathan (LA)
Sent:                               Wednesday, October 18, 2017 3:17 PM
To:                                 Martha Boersch; Lara Kollios
Cc:                                 Howes, Kendall (LA)
Subject:                            Almaty v. Khrapunov - Depositions


Martha & Lara,

Following up on our prior discussion regarding depositions, our understanding is that you represented that Elvira and
Dmitry left the United States, had their U.S. visas revoked, are currently in Switzerland, and cannot return to the United
States. You also represented that the other four individual defendants noticed for deposition (Iliyas, Madina, Viktor and
Leila) are currently in Switzerland and likewise are unable to come to the United States for a deposition. You further
indicated that your position would be that we would have to go through the Hague Convention on the Taking of Evidence
in order to take the depositions of these six defendants (in the U.S. or elsewhere). Please confirm that this is, in fact, your
position with respect to each of the deponents and, if so, provide the following:

    •    The date on which Elvira and Dmitry left the U.S.;
    •    The reason that Elvira and Dmitry left the U.S.;
    •    Documentation/evidence of Elvira and Dmitry’s departure from the U.S., as well as your assertion that their visas
         have been revoked;
    •    Documentation/evidence that each of the defendants is unable to leave Switzerland (and/or come to the United
         States for a deposition); and
    •    Legal authority for the proposition that the Hague Convention must be utilized under these circumstances – i.e.,
         named defendants in a CA proceeding were served deposition notices via CA counsel (and, apparently in some
         cases, subsequently left the country).

Please provide this information by Friday, October 20th, so that we may promptly evaluate both the legality of your
position and the steps necessary to conduct these depositions – particularly in light of your apparent position that it must
be done through the Hague Convention.

Please do not hesitate to contact me with any questions regarding the above.

Regards,

--Jon


Jonathan M. Jackson | LATHAM & WATKINS LLP
355 South Grand Avenue | Los Angeles, California 90071-1560
Tel: 213.891.8556 | Fax: 213.891.8763 | jonathan.jackson@lw.com




                                                               1
                                                                                                         EXHIBIT D
           Case 2:14-cv-03650-FMO-FFM Document 202-2 Filed 01/19/18 Page 7 of 25 Page ID
                                            #:8589



From:                                             Lara Kollios <LKollios@boerschshapiro.com>
Sent:                                             Friday, October 20, 2017 3:05 PM
To:                                               Jackson, Jonathan (LA); Martha Boersch
Cc:                                               Howes, Kendall (LA)
Subject:                                          RE: Almaty v. Khrapunov - Depositions


Jon,

I don’t agree with your recitation of our representations, and will get back to you next week with more information. But
for the time being, as you know, the Southern District of New York has held that any deposition of Iliyas in that matter
(in which he is also a defendant) must go through the Hague. The authority supporting that is in the motion papers and
order that can be found on the docket. Will be in touch on this and your proposed briefing schedule for the Motion to
Dismiss next week. Thanks - Lara


Lara Kollios
Boersch Shapiro LLP
1611 Telegraph Ave, Suite 806
Oakland, CA 94612
Tel (415) 500-6643
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From: jonathan.jackson@lw.com [mailto:jonathan.jackson@lw.com]
Sent: Wednesday, October 18, 2017 3:17 PM
To: Martha Boersch <MBoersch@boerschshapiro.com>; Lara Kollios <LKollios@boerschshapiro.com>
Cc: Kendall.Howes@lw.com
Subject: Almaty v. Khrapunov - Depositions

Martha & Lara,

Following up on our prior discussion regarding depositions, our understanding is that you represented that Elvira and
Dmitry left the United States, had their U.S. visas revoked, are currently in Switzerland, and cannot return to the United
States. You also represented that the other four individual defendants noticed for deposition (Iliyas, Madina, Viktor and
Leila) are currently in Switzerland and likewise are unable to come to the United States for a deposition. You further
indicated that your position would be that we would have to go through the Hague Convention on the Taking of Evidence
in order to take the depositions of these six defendants (in the U.S. or elsewhere). Please confirm that this is, in fact, your
position with respect to each of the deponents and, if so, provide the following:

       •    The date on which Elvira and Dmitry left the U.S.;
       •    The reason that Elvira and Dmitry left the U.S.;
       •    Documentation/evidence of Elvira and Dmitry’s departure from the U.S., as well as your assertion that their visas
            have been revoked;
       •    Documentation/evidence that each of the defendants is unable to leave Switzerland (and/or come to the United
            States for a deposition); and
       •    Legal authority for the proposition that the Hague Convention must be utilized under these circumstances – i.e.,
            named defendants in a CA proceeding were served deposition notices via CA counsel (and, apparently in some
            cases, subsequently left the country).


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                                                                                                         EXHIBIT E
        Case 2:14-cv-03650-FMO-FFM Document 202-2 Filed 01/19/18 Page 8 of 25 Page ID
                                         #:8590
Please provide this information by Friday, October 20th, so that we may promptly evaluate both the legality of your
position and the steps necessary to conduct these depositions – particularly in light of your apparent position that it must
be done through the Hague Convention.

Please do not hesitate to contact me with any questions regarding the above.

Regards,

--Jon


Jonathan M. Jackson | LATHAM & WATKINS LLP
355 South Grand Avenue | Los Angeles, California 90071-1560
Tel: 213.891.8556 | Fax: 213.891.8763 | jonathan.jackson@lw.com



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                                                              2
                                                                                                        EXHIBIT E
Case 2:14-cv-03650-FMO-FFM Document 202-2 Filed 01/19/18 Page 9 of 25 Page ID
 Jonathan Jackson                #:8591          355 South Grand Avenue, Suite 100
 Direct Dial: +1.213.891.8556                                        Los Angeles, California 90071-1560
 jonathan.jackson@lw.com                                             Tel: +1.213.485.1234 Fax: +1.213.891.8763
                                                                     www.lw.com

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                                                                     Hamburg         Seoul
 December 13, 2017                                                   Hong Kong       Shanghai
                                                                     Houston         Silicon Valley
                                                                     London          Singapore
                                                                     Los Angeles     Tokyo
 VIA EMAIL                                                           Madrid          Washington, D.C.
                                                                     Milan
 Lara Kollios
 Boersch Shapiro LLP
 1611 Telegraph Ave, Suite 806
 Oakland, CA 94612
 LKollios@boerschshapiro.com

            Re:        City of Almaty v. Viktor Khrapunov, et al. (Case No. 14-cv-03650): Meet and
                       Confer Letter

 Dear Ms. Kollios:

        We write in an effort to meet and confer regarding several outstanding discovery issues.
 Absent prompt resolution of these issues, we intend to file a motion to compel and for sanctions
 pursuant to Local Rule 37.

         First, following up on your October 20, 2017 email (attached hereto as Exhibit A), and
 our subsequent conversations, we make this final request for additional information and
 documentation regarding the refusal of each of the individual defendants in this action (referred
 to herein by their first names for simplicity) – Elvira, Dmitry, Madina, Leila, Iliyas and Viktor –
 to appear in response to their previously noticed depositions as required under the Federal Rules
 of Civil Procedure.

        As you know, deposition notices for each of these defendants were served by overnight
 mail on September 8, 2017 (Viktor, Leila, Iliyas, Madina) and September 12, 2017 (Elvira,
 Dmitry) with the following noticed deposition dates:

      •     October 20, 2017 (Madina)
      •     October 23, 2017 (Dmitry)
      •     October 24, 2017 (Elvira)
      •     October 25, 2017 (Iliyas)
      •     October 27, 2017 (Leila)
      •     October 30, 2017 (Viktor)



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         None of these defendants appeared for their noticed deposition. With respect to Iliyas,
 you have indicated that his refusal to appear is ostensibly based on the briefing and decision in
 another matter pending in the Southern District of New York. (See Ex. A, at 1.) Our
 understanding is that the order in question issued on July 7, 2017; the order instructed Iliyas to
 cooperate fully in coordinating his deposition in Switzerland; Iliyas has yet to sit for a deposition
 despite the court’s order regarding his cooperation; and the order further provided that “should
 the Hague procedures ultimately prove ineffective,” Iliyas could be ordered to appear for a
 deposition outside of Switzerland. In any event, that order is neither binding nor applicable to
 the circumstances presented here, and it does not purport to address the depositions of the other
 five defendants in this action.

          With respect to Elvira and Dmitry, we understand that each of these defendants was in
 California at or around the time their deposition notices were served, and they subsequently left
 the country. You indicated during our previous call that these defendants may return to the
 United States at some point, but we have received no further documentation regarding when they
 left the United States, the circumstances under which they may return, or when they may return.
 Indeed, it is our understanding that one or more of these defendants may have already returned
 to the United States, but you nevertheless failed to inform us of this fact or otherwise provide us
 with any information regarding their alleged whereabouts.

        With respect to the remaining three defendants – Madina, Leila and Viktor – you have
 provided no further information whatsoever.

          As you know, the presumption in federal court is that the Federal Rules of Civil
 Procedure – not the Hague Convention (or any other legal standard) – governs discovery. See,
 e.g., In re Auto. Refinishing Paint Antitrust Litig., 358 F.3d 288, 300 (3d Cir. 2004) (holding the
 Federal Rules remain the “normal method[] for federal litigation involving foreign national
 parties”) (internal quotation marks omitted). To date, you have provided nothing that would
 rebut this presumption. Indeed, none of the defendants objected to their respective deposition
 notices or moved for a protective order; they simply refused to appear for their depositions on the
 noticed deposition date. See generally Prac. Guide Fed. Civ. Pro. Before Trial, § 11:2403
 (Rutter Group 2017) (“Unless a protective order has been applied for, the fact that the discovery
 request is objectionable does not excuse the failure to appear or respond.”) (citing FRCP 37(d),
 collecting cases).

         We cannot continue to delay the depositions of the individual defendants in this manner.
 Pursuant to Local Rule 37-1, we request that you (a) by close of business on December 15, 2017,
 provide the information that we previously requested in my email of October 18, 2017 (see
 Ex. A, at 1-2) regarding the purported unavailability of the defendants to sit for their depositions;
 and (b) agree to meet and confer by telephone within the next three business days to discuss the
 scheduling of these depositions. Absent a written agreement, executed by you and your clients,
 to appear for these depositions on mutually agreeable dates, in an agreed-upon location, we will
 seek an order compelling the deposition of each of the individual defendants on a date certain in
 the United States (or possibly, in the alternative, in a neutral country pursuant to the Federal
 Rules of Civil Procedure) and for sanctions for failure to appear.

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 US-DOCS\95932921                                                                         EXHIBIT F
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         Second, we write in an attempt to meet and confer regarding the egregious deficiencies in
 the discovery responses provided by Defendants on November 17, 2017. The following
 individual defendants – Iliyas, Leila, Madina and Viktor – failed to provide any substantive
 responses to the written discovery requests served in September of this year. Instead, in response
 to Plaintiff’s Requests For Admission, Requests For Production of Documents and
 Interrogatories, these defendants simply asserted boilerplate objections and refused to respond to
 each and every request.1 The remaining ten defendants likewise failed to provide a single
 substantive response to any of Plaintiff’s Interrogatories.

          When you requested an additional thirty days to respond to Plaintiff’s written discovery
 requests, we agreed to the requested 30-day extension based on your explicit assurance that
 Defendants would, in fact, provide substantive responses (and produce documents) in response to
 these discovery requests. (See Exhibit B, attached hereto.) Defendants’ responses violate both
 the letter and spirit of this agreement, and fall well short of Defendants’ legally mandated
 discovery obligations.

         To the extent that Defendants are relying on their pending motion to dismiss as a
 purported justification for their failure to respond, any such reliance is explicitly barred by this
 Court’s July 20, 2017 Order, which instructs that “discovery shall not be stayed while any
 motion is pending, including any motion to dismiss,” and “[t]he parties are directed to conduct
 any necessary discovery as soon as possible[.]” (Dkt. No. 138, at 2 (emphasis in original).)
 Furthermore, the refusal of the above-referenced ten defendants to respond to Plaintiff’s
 Interrogatories on the purported ground that “the Court lacks personal jurisdiction over
 defendant” is particularly inappropriate, as none of these defendants has even attempted to assert
 that the Court lacks personal jurisdiction in this matter. There is no good faith basis for
 Defendants’ blanket refusal to respond to Plaintiff’s discovery requests. Absent resolution of
 these issues at the parties’ upcoming meet and confer, we will file a motion to compel responses
 to the above-described discovery requests and for sanctions on this basis as well.

         Third, as noted above, our agreement to your request for a 30-day extension was based on
 your assurance that Defendants would actually produce documents in response to Plaintiff’s
 document requests. (See Ex. B.) Despite this assurance, Defendants have failed to produce a
 single document in response to Plaintiff’s Requests For Production of Documents, which were
 served three months ago. Absent resolution of this issue at the parties’ upcoming meet and
 confer, we will file a motion to compel the production of documents and for sanctions on this
 basis as well.

       Fourth, we note that Defendants’ responses to the written discovery requests served in
 September of this year are deficient in a number of additional respects. We will discuss these


 1
         These Defendants likewise failed to provide any substantive responses or documents in
 response to the interrogatories and requests for production of documents served on each of them
 in July and August of 2015 (before this matter was temporarily dismissed and suspended pending
 Plaintiff’s appeal to the Ninth Circuit). This prior failure to respond to written discovery will
 also be included in our upcoming telephonic meet and confer and (absent resolution) motion to
 compel and for sanctions.
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 deficiencies further in future correspondence, but we cannot delay the resolution of the distinct
 issues discussed above in the interim.

         Finally, we write regarding the following discovery requests, which were served on
 Defendants in 2015 (before the case was temporarily dismissed and suspended pending
 Plaintiff’s appeal to the Ninth Circuit), and to which Defendants have failed to provide any
 responses or objections whatsoever. Responses were due within thirty days of the date of service
 listed below. We intend to move to compel and/or for sanctions regarding Defendants’ failure to
 respond to these requests within the requisite period.

         •          Interrogatories to Elvira Khrapunova Set Two served June 3, 2015;

         •          Interrogatories to Dmitry Kudryshov Set Two served June 3, 2015;

         •          Interrogatories to Elvira Khrapunova as Trustee for the Kasan Family Trust Set
                    Two served June 3, 2015;

         •          Interrogatories to Dmitry Kudryshov as Trustee for the Kasan Family Trust Set
                    Two served June 3, 2015;

         •          Interrogatories to RPM USA, LLC Set Two served June 3, 2015;

         •          Interrogatories to RPM-Maro LLC Set Two served June 3, 2015;

         •          Interrogatories to Maro Designs LLC Set Two served June 3, 2015;

         •          Interrogatories to Candian International Ltd Set Two served June 3, 2015;

         •          Interrogatories to 628 Holdings LLC Set Two served June 3, 2015;

         •          Interrogatories to Haute Hue LLC Set Two served June 3, 2015;

         •          Requests for Admissions to Elvira Khrapunova Set One served June 3, 2015;

         •          Requests for Admissions to Dmitry Kudryshov Set One served June 3, 2015;

         •          Requests for Admissions to Elvira Khrapunova as Trustee for the Kasan Family
                    Trust Set One served June 3, 2015;

         •          Requests for Admissions to Dmitry Kudryshov as Trustee for the Kasan Family
                    Trust Set One served June 3, 2015;

         •          Requests for Admissions to RPM USA, LLC Set One served June 3, 2015;

         •          Requests for Admissions to RPM-Maro LLC Set One served June 3, 2015;

         •          Requests for Admissions to Maro Designs LLC Set One served June 3, 2015;

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         •          Requests for Admissions to Candian International Ltd Set One served June 3,
                    2015;

         •          Requests for Admissions to 628 Holdings LLC Set One served June 3, 2015;

         •          Requests for Admissions to Haute Hue LLC Set One served June 3, 2015;

         •          Requests for Production of Documents to Elvira Khrapunova Set Two served
                    May 29, 2015;

         •          Requests for Production of Documents to Dmitry Kudryshov Set Two served May
                    29, 2015;

         •          Requests for Production of Documents to Elvira Khrapunova as Trustee for the
                    Kasan Family Trust Set Two served May 29, 2015;

         •          Requests for Production of Documents to Dmitry Kudryshov as Trustee for the
                    Kasan Family Trust Set Two served May 29, 2015;

         •          Requests for Production of Documents to RPM USA, LLC Set Two served May
                    29, 2015;

         •          Requests for Production of Documents to RPM-Maro LLC Set Two served May
                    29, 2015;

         •          Requests for Production of Documents to Maro Designs LLC Set Two served
                    May 29, 2015;

         •          Requests for Production of Documents to Candian International Ltd Set Two
                    served May 29, 2015;

         •          Requests for Production of Documents to 628 Holdings LLC Set Two served May
                    29, 2015;

         •          Requests for Production of Documents to Haute Hue LLC Set Two served May
                    29, 2015.


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         As noted above, we would like to schedule a meet & confer call this Thursday or Friday
 (December 14 or 15) or the following Monday (December 18) to discuss the above-described
 issues. Please let us know your availability on these dates, or if you are unavailable on those
 dates, on alternative dates within the period prescribed by Local Rule 37. We look forward to
 speaking with you regarding these issues.

                                             Very truly yours,



                                             Jonathan M. Jackson
                                             of LATHAM & WATKINS LLP

 Enclosures

 cc:     Martha Boersch, Esq., Boersch Shapiro LLP
         David Schindler, Esq., Latham & Watkins LLP




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 US-DOCS\95932921                                                                     EXHIBIT F
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                           Exhibit A
                                                                   EXHIBIT F
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                                             #:8598

Jackson, Jonathan (LA)

From:                                             Lara Kollios <LKollios@boerschshapiro.com>
Sent:                                             Friday, October 20, 2017 3:05 PM
To:                                               Jackson, Jonathan (LA); Martha Boersch
Cc:                                               Howes, Kendall (LA)
Subject:                                          RE: Almaty v. Khrapunov - Depositions


Jon,

I don’t agree with your recitation of our representations, and will get back to you next week with more information. But
for the time being, as you know, the Southern District of New York has held that any deposition of Iliyas in that matter
(in which he is also a defendant) must go through the Hague. The authority supporting that is in the motion papers and
order that can be found on the docket. Will be in touch on this and your proposed briefing schedule for the Motion to
Dismiss next week. Thanks - Lara


Lara Kollios
Boersch Shapiro LLP
1611 Telegraph Ave, Suite 806
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Tel (415) 500-6643
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From: jonathan.jackson@lw.com [mailto:jonathan.jackson@lw.com]
Sent: Wednesday, October 18, 2017 3:17 PM
To: Martha Boersch <MBoersch@boerschshapiro.com>; Lara Kollios <LKollios@boerschshapiro.com>
Cc: Kendall.Howes@lw.com
Subject: Almaty v. Khrapunov - Depositions

Martha & Lara,

Following up on our prior discussion regarding depositions, our understanding is that you represented that Elvira and
Dmitry left the United States, had their U.S. visas revoked, are currently in Switzerland, and cannot return to the United
States. You also represented that the other four individual defendants noticed for deposition (Iliyas, Madina, Viktor and
Leila) are currently in Switzerland and likewise are unable to come to the United States for a deposition. You further
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       •    The date on which Elvira and Dmitry left the U.S.;
       •    The reason that Elvira and Dmitry left the U.S.;
       •    Documentation/evidence of Elvira and Dmitry’s departure from the U.S., as well as your assertion that their visas
            have been revoked;
       •    Documentation/evidence that each of the defendants is unable to leave Switzerland (and/or come to the United
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       •    Legal authority for the proposition that the Hague Convention must be utilized under these circumstances – i.e.,
            named defendants in a CA proceeding were served deposition notices via CA counsel (and, apparently in some
            cases, subsequently left the country).



                                                                                                         EXHIBIT F
        Case 2:14-cv-03650-FMO-FFM Document 202-2 Filed 01/19/18 Page 17 of 25 Page ID
                                          #:8599
Please provide this information by Friday, October 20th, so that we may promptly evaluate both the legality of your
position and the steps necessary to conduct these depositions – particularly in light of your apparent position that it must
be done through the Hague Convention.

Please do not hesitate to contact me with any questions regarding the above.

Regards,

--Jon


Jonathan M. Jackson | LATHAM & WATKINS LLP
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Tel: 213.891.8556 | Fax: 213.891.8763 | jonathan.jackson@lw.com



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                                                                                                        EXHIBIT F
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                           Exhibit B
                                                                   EXHIBIT F
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                                             #:8601

Jackson, Jonathan (LA)

From:                               Jackson, Jonathan (LA)
Sent:                               Tuesday, October 17, 2017 12:17 PM
To:                                 'Lara Kollios'
Cc:                                 Martha Boersch; Howes, Kendall (LA)
Subject:                            RE: Khrapunov Discovery


Thanks Lara,

Following up on our prior conversations and your email below, this is to confirm that, based on your agreement to
respond substantively/produce documents (and not simply assert objections), we agree to the proposed 30-day
extension for written discovery. Just to be clear, we do have concerns regarding potential “prejudice” in light of the
amount of discovery that remains to be completed (which delayed our response somewhat), but at the same time we
want to be sensitive to your task in getting up to speed and maintain a positive working relationship going
forward. Also, one item from our call that I’d like to emphasize is that we don’t necessarily have access to documents
produced in other matters (often due to protective orders restricting dissemination), so documents should not be
withheld on the basis that they may have been produced elsewhere.

We have concerns regarding the apparent unavailability of witnesses for depositions that you raised during our last call,
and will follow up separately on that front.

Finally, following up on our discussion re: a stipulated briefing schedule for the MTD, we suggest the following:

       •     MTD due – 10/25/17
       •     Opposition due – 11/23/17
       •     Reply due – 12/14/17
       •     Hearing – 1/4/17

In light of the court’s prior order re: the 42-day notice period for motions, I think we’ll need to provide a bit more detail
in our stip to establish good cause (and we tried not to stretch out the deadlines too much in the above, and instead
pushed the hearing date out based on your unavailability 12/21/17 and the holidays) – we’re happy to put together a
draft for your review and approval. Please let us know what you think.

Regards,

--Jon


From: Lara Kollios [mailto:LKollios@boerschshapiro.com]
Sent: Friday, October 13, 2017 10:15 AM
To: Jackson, Jonathan (LA)
Cc: Martha Boersch; Howes, Kendall (LA)
Subject: Khrapunov Discovery

Jon,

Per our discussion earlier this week, you confirmed that the Khrapunov discovery responses would not be due until you
had a chance to get back to me on our request for an extension. We’ve been discussing the brief extension for a bit now
and during our discussions you have not expressed any objection of prejudice. We will consider our responses due on
November 17 unless we hear otherwise. Thanks - Lara
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                                          #:8602

Lara Kollios
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                                                                     Düsseldorf      San Diego
                                                                     Frankfurt       San Francisco
                                                                     Hamburg         Seoul
 December 22, 2017                                                   Hong Kong       Shanghai
                                                                     Houston         Silicon Valley
                                                                     London          Singapore
                                                                     Los Angeles     Tokyo
 VIA EMAIL                                                           Madrid          Washington, D.C.
                                                                     Milan
 Lara Kollios
 Boersch Shapiro LLP
 1611 Telegraph Ave, Suite 806
 Oakland, CA 94612
 LKollios@boerschshapiro.com

            Re:        City of Almaty v. Viktor Khrapunov, et al. (Case No. 14-cv-03650): Meet and
                       Confer Letter

 Dear Ms. Kollios:

         We write to follow up on our letter of December 13, 2017 (the “December 13 Letter”) to
 further meet and confer regarding Defendants’ deficient discovery responses. As with the other
 discovery issues discussed in the December 13 Letter, absent prompt resolution of these issues,
 we intend to file a motion to compel further responses to the discovery requests set forth below
 and/or for sanctions pursuant to Local Rule 37.

         As noted in the December 13 Letter, Viktor Khrapunov, Leila Khrapunova, Iliyas
 Khrapunov, and Madina Ablyazova have failed to provide a single substantive response to any
 discovery propounded in this case. Additionally, the remaining Defendants failed to provide a
 single substantive response to any of Plaintiff’s Interrogatories served in September of this year.

         In addition to these egregious deficiencies, Defendants’ discovery responses are
 insufficient in several other respects, detailed below.

            Requests for Production

         Defendants failed to substantively respond or agree to produce any documents with
 respect to the vast majority of Plaintiff’s Requests for Production (“RFPs”) served in September
 of this year, and instead simply asserted boilerplate objections. Defendants’ blanket refusal to
 produce documents in response to the following RFPs, in particular, is improper:




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        •       Request for Production Nos. 57-60, 62-70, and 72-83 served on Elvira
                Khrapunova;

        •       Request for Production Nos. 57-60, 62-70, and 72-82 served on Dmitry
                Kudryashov;

        •       Request for Production Nos. 57, 601, 65-70, and 72-81 served on 628 Holdings
                LLC;

        •       Request for Production Nos. 57, 60, 65-70, and 72-81 served on Candian
                International LTD;

        •       Request for Production Nos. 57, 60, 65-70, and 72-81 served on Haute Hue LLC;

        •       Request for Production Nos. 57, 60, 65-70, and 72-81 served on Maro Design
                LLC;

        •       Request for Production Nos. 57, 60, 65-70, and 72-81 served on RPM USA LLC;

        •       Request for Production Nos. 57, 60, 65-70, and 72-81 served on RPM-Maro LLC;

        •       Request for Production Nos. 57, 60, 65-70, and 72-82 served on Elvira
                Khrapunova as Trustee of the Kasan Family Trust; and

        •       Request for Production Nos. 57, 60, 65-70, and 72-82 served on Dmitry
                Kudryashov as Trustee of the Kasan Family Trust.

         Additionally, in response to the following RFPs, Defendants agreed to produce
 documents limited solely to the property located at 606 North Alta Drive, Beverly Hills,
 California. This limitation is improper. Several additional properties and assets were
 specifically identified in the Consolidated Amended Complaint (“CAC”) as associated with one
 or more of the Defendants. While Plaintiff maintains it is entitled to documents responsive to the
 entirety of each of these requests, at the very minimum, Defendants have no basis to refuse to
 produce documents related to all properties, assets and entities identified in the CAC.

        •       Request for Production Nos. 59, 61, and 62 served on 628 Holdings LLC;

        •       Request for Production Nos. 59, 61, and 62 served on Candian International LTD;

        •       Request for Production Nos. 59, 61, and 62 served on Haute Hue LLC;

        •       Request for Production Nos. 59, 61, and 62 served on Maro Design LLC;

        •       Request for Production Nos. 59, 61, and 62 served on RPM USA LLC;


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         628 Holdings LLC’s Response to RFP No. 60 does not contain any objections
 whatsoever and simply repeats the Request.
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         •          Request for Production Nos. 59, 61, and 62 served on RPM-Maro LLC;

         •          Request for Production Nos. 59, 61, and 62 served on Elvira Khrapunova as
                    Trustee of the Kasan Family Trust; and

         •          Request for Production Nos. 59, 61, and 62 served on Dmitry Kudryashov as
                    Trustee of the Kasan Family Trust.

        Further, Defendants improperly limited the production of documents in response to the
 following RFPs to documents related only to Defendants and/or concerning accounts or entities
 located in the United States. As you know, this case involves the laundering of money both into
 and within the United States, and a RICO enterprise involving numerous entities and individuals
 – both domestic and foreign. This limitation is entirely improper.

         •          Request for Production Nos. 63, 64, and 71 served on 628 Holdings LLC ;

         •          Request for Production 63, 64, and 71 served on Candian International LTD;

         •          Request for Production Nos. 63, 64, and 71 served on Haute Hue LLC;

         •          Request for Production Nos. 63, 64, and 71 served on Maro Design LLC;

         •          Request for Production Nos. 63, 64, and 71 served on RPM USA LLC;

         •          Request for Production Nos. 63, 64, and 71 served on RPM-Maro LLC;

         •          Request for Production Nos. 63, 64, and 71 served on Elvira Khrapunova as
                    Trustee of the Kasan Family Trust;

         •          Request for Production Nos. 63, 64, and 71 served on Dmitry Kudryashov as
                    Trustee of the Kasan Family Trust;

         •          Request for Production Nos. 61 and 71 served on Elvira Khrapunova; and

         •          Request for Production Nos. 61 and 71 served on Dmitry Kudryashov.

       Lastly, as noted in the December 13 Letter, Plaintiff has yet to receive any of the
 documents that Defendants have indicated they are willing to produce. We request that
 Defendants produce these documents without further delay.

         As noted in the December 13 Letter, Plaintiffs’ agreement to your request for an
 additional thirty days to respond to Plaintiff’s written discovery requests was based on your
 explicit assurance that Defendants would, in fact, provide substantive responses and produce
 documents in response to these discovery requests. Defendants’ responses to Plaintiffs’ RFPs
 violate both the letter and spirit of this agreement, and fall well short of Defendants’ legally
 mandated discovery obligations.


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         Requests for Admission

         Defendants Elvira Khrapunova (“Elvira”) and Dmitry Kudryshov (“Dmitry”) also failed
 adequately to respond to many of the Requests for Admissions (“RFAs”) served in September of
 this year. First, Elvira and Dmitry failed to provide any substantive response to the RFAs listed
 below. Instead, they simply asserted boilerplate objections. There is no readily apparent reason
 why Elvira and Dmitry chose not to respond to these RFAs, while at the same time responding to
 certain others.

             •      Request for Admission Nos. 258, 261-270, 314-316, 326-333, 335-340, 342-346,
                    348-355, 357-360, 390-391, and 397 served on Elvira Khrapunova; and

             •      Request for Production Nos. 258, 261-270, 314-316, 325-338, 341-345, 347-353,
                    365, 368-369, and 375 served on Dmitry Kudryashov.

         Second, Elvira and Dmitry asserted that they lack “sufficient information or belief to
 allow Defendant to admit or deny” several RFAs, listed below, regarding information that is
 indisputably within their knowledge (or, at minimum, obtainable through reasonably available
 sources). See Prac. Guide Fed. Civ. Pro. Before Trial, § 11:2047 (Rutter Group 2017) (“The
 responding party is required to undertake a ‘good faith’ investigation of sources reasonably
 available to him or her in formulating answers to RFAs”). Several of these RFAs, for example,
 concern large sums of money transferred by or to each respective Defendant’s bank accounts.
 (See, e.g., Elvira RFA No. 127.) Similarly, other RFAs directly concern actions taken by (and/or
 knowledge of) entities that these Defendants own or control. For example, Elvira admitted that
 “Crownway is or was owned or controlled by [her].” (Elvira RFA No. 151.) Despite this, she
 denied knowledge concerning several large dollar money transfers made by Crownway. (See,
 e.g., Elvira RFA No. 155.) Elvira’s and Dmitry’s responses to these RFAs do not comport with
 their legally mandated discovery obligations.

             •      Request for Admission Nos. 127-141, 159-182, 198-199, 211-214, 217-219, 222-
                    224, 227-229, 235-236, 249-250, 271-274, 279-313, 317-318, 322-323, 340, 347,
                    356, 362, 363, and 369-388 served on Elvira Khrapunova; and

             •      Request for Production Nos. 198-199, 212-214, 235-236, 249-250, 272, 304-306,
                    310-313, 318, 322-323, 356, and 361-362 served on Dmitry Kudryashov.

         Pursuant to Local Rule 37, please let us know when you are available to discuss these
 issues further at your earliest convenience. We look forward to speaking with you.

                                                Very truly yours,



                                                Jonathan M. Jackson
                                                of LATHAM & WATKINS LLP



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 cc:     Martha Boersch, Esq., Boersch Shapiro LLP
         David Schindler, Esq., Latham & Watkins LLP




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